        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 1 of 10




                                      MEMORANDUM

TO: Special Master Alan Balaran
FROM: William Coleman Dowden, III, Esq.
CC: Thomas Fay, Esq., Caragh Fay, Esq., Amy Weedman, Esq., FILE
RE: Nancy Worley, et al., v. Islamic Republic of Iran, et al., 12-cv-2069 (RCL): Survival
claims of decedents and claims brought on behalf of decedents.
DATE: January 30, 2015




On December 8, 2014, Judge Lamberth in the United States District Court for the District of

Columbia entered a Memorandum and Order appointing and directing you as a Special Master

over this case. In that Memorandum and Order the Court directed the Special Master to collect

additional evidence on certain threshold issues regarding estate-plaintiffs. Additionally, in

your letter dated December 12, 2014; you requested this firm respond with further information

on the Court’s evidentiary orders. We submit the following in response to the questions

presented.


     Questions Presented in the Court’s December 8, 2014 Memorandum and Order


   1. Whether plaintiffs Arley Buckmaster, Larry Edward, and Roscoe Hamilton have

       standing to assert a claim under 1605A;

   2. Which state laws govern the claims of the decedents;

   3. Which state laws govern the survival of a deceased plaintiff in those instances where

       the estate representatives have been “submitted”; and

   4. Whether those plaintiffs seeking damages for harms suffered during the decedent’s life

       (“survival claims”) have standing under relevant state law.



                                                1


                                                                                                Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 2 of 10




In Re Question 1: Whether plaintiffs Arley Buckmaster, Larry Edward, and Roscoe

Hamilton have standing to assert a claim under 1605A.


       On December 22, 2014, Plaintiffs filed a response pursuant to the Court’s December 8,

2014 Memorandum and Order focused on the specific claims and standing to assert claims

pursuant to 28 U.S.C. § 1605A. Our office has forwarded a copy of the filed response to your

attention but also attaches the exhibits to that response to this Memorandum and will discuss

them further here.


       It is our understanding that the Court requested affidavits, death certificates, or other

proof that the Plaintiffs bringing these claims do in fact qualify pursuant to the plain reading

of 28 U.S.C. § 1605A(c) (1). That particular section reads, “a national of the United States…”

or “legal representative of” holds a “private right of action” against “[a] foreign state that is or

was a state sponsor of terrorism” for claims arising in “personal injury or death…” See, 28

U.S.C.§ 1605A(c) (West). Additionally claims brought pursuant to this section may be for

damages that “include economic damages, solatium, pain and suffering, and punitive

damages.” 28 U.S.C.§ 1605A (c)(4) (West).


       Per the attached exhibits, a personal representative of each plaintiff has sworn pursuant

to an oath of perjury that the now deceased plaintiffs were in fact nationals of the United

States and as such plainly qualify under the text of 1605A(c). See, Attached Affidavits Filed

on Dec. 22, 2014, 12-cv-2069, Doc. 34-1.


       Further, the representatives of these estates intend to file a motion to substitute proper

parties pursuant to the recent Memorandum and Order of the Court and Fed. R. Civ. Pro.




                                                 2


                                                                                                Exhibit B
         Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 3 of 10




25(a)(1) 1 on or before the 90 day time limit 2 as required by the Court. As such, Plaintiffs

further assert that the claims alleged in their pleadings are valid and appropriate. Please refer

to the filed response on December 22, 2014 for specific application to each plaintiff.


In Re Questions 2, 3, and 4.

         Since the final three questions presented in your December 12, 2014, letter and the

Court’s Memorandum and Order on December 8, 2014, involve the application of specific

state laws to specific estates we now focus our attention on the applicable case law from the

states where Plaintiffs’ Counsel anticipate estate-plaintiffs to bring claims via the pass-

through exception outlined in established FSIA case law.

         Per Taylor v. Iran, claims brought on behalf of estates seeking “recovery for emotional

and mental anguish that the decedents suffered while still alive” are allowed so long as the

state law where the estate law of the decedent allows for the action. See, Taylor v. Iran, 811 F.

Supp. 2d 1, 12 (D.C. 2011). In Taylor, the Court outlined its reasoning:


                  “because an action brought under the state-sponsored terrorism
                  exception is based on a federal statute, the ‘extent and nature’ of
                  the claims is a federal question. Bettis v. Islamic Republic of Iran,
                  315 F.3d 325, 333 (D.C.Cir.2003). However, an estate's standing
                  to maintain a cause of action seeking damages for injuries
                  suffered during the decedent's lifetime is not an issue touching on
                  the ‘extent and nature’ of the estate's underlying claim, but rather
                  is a threshold question concerning the power of the estate to bring
                  and maintain legal claims. Such questions are governed by the

1
  Fed. R. Civ. Pro. 25 (a)(1): “If a party dies and the claim is not extinguished, the court may order substitution of
the proper party. A motion for substitution may be made by any party or by the decedent's successor or
representative. If the motion is not made within 90 days after service of a statement noting the death, the action
by or against the decedent must be dismissed.”


2
 Ninety days from December 8, 2014, the date on which Judge Lamberth’s Memorandum and Order was filed, is
currently March 22, 2015, a Sunday. Per the Rules, the deadline then falls on the next business day, March 23,
2015. Plaintiffs’ counsel envisions filing this particular motion long before this deadline.

                                                          3


                                                                                                                 Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 4 of 10




               law of the state which also governs the creation of the estate. This
               is plainly supported by Congress' purpose in creating a federal
               cause of action under § 1605A, which is to ensure that a ‘foreign
               state shall be liable in the same manner and to the same extent as
               a private individual under like circumstances.’ 28 U.S.C. § 1606.
               If an estate-plaintiff would not be permitted to bring suit against
               a private individual due to the operation of the state law
               governing the estate—which is unrelated to the ‘extent and
               nature’ of the specific cause of action—nothing in the FSIA
               indicates that the same estate-plaintiff should otherwise be
               permitted to bring an identical claim against a foreign state.
               Bearing these principles in mind, the Court shall examine the
               state law applicable to each of the estate-plaintiffs in this action.”

Taylor v. Islamic Republic of Iran, 811 F. Supp. 2d 1, 12-13 (D.D.C. 2011). In Taylor, the

Court engaged in specific application of state law to each affected estate-plaintiff – in turn, we

will highlight the specific state law based on the states we anticipate estate-plaintiffs to bring

claims into the FSIA case law pass-through provision.

       Per FSIA case law, the Court has previously addressed the standing of estates pleading

survival claims under the FSIA, specifically claims for terrorist activities under 28 U.S.C. §

1605(a)(7) (repealed and replaced with 1605A).

               “…this Court and others in this district have looked to the
               decedent's state of domicile for governing law in wrongful death
               claims. See, e.g., Heiser, 466 F.Supp.2d at 271–356; Dammarell
               v. Islamic Republic of Iran, No. 01–2224, 2005 WL 756090, *21,
               2005 U.S. Dist. LEXIS 5343, at *67–68 (D.D.C. Mar. 29, 2005)
               (Bates, J.) [hereinafter Dammarell II ]. Contra Restatement
               (Second) of Conflict of Laws § 175 (1971) (law of place where
               injury occurred typically governs wrongful death claims). As
               Judge Bates explained in Dammarell II, in ‘wrongful death
               actions arising out of mass disasters,” the decedent's place of
               domicile has an important ‘ ‘interest in ensuring that its residents
               are fully and adequately compensated for tortious harm.’ ’Id.,
               2005 WL 756090, *19, 2005 U.S. Dist. LEXIS 5343, at **59–60
               (quoting Pescatore v. Pan Am., 97 F.3d 1, 13 (2d Cir.1996)).
               Though the present action arises from a single-victim
               extrajudicial murder rather than a mass-disaster, the Court finds
               that acts of state-sponsored terrorism are sufficiently analogous

                                                 4


                                                                                               Exhibit B
         Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 5 of 10




                 to generate a similarly weighty governmental interest. Because
                 Gholam Ali Oveissi had lived in Paris, France for approximately
                 five years when his life ended there in February 1984, he would
                 likely be deemed a domiciliary of France. See Restatement
                 (Second) Conflict of Laws §§ 15, 16, 18 (1971) (domicile of
                 choice acquired by coincidence of legal capacity, physical
                 presence, and intent to remain ‘for the time at least’).”

Oveissi v. Islamic Republic of Iran, 498 F. Supp. 2d 268, 279 (D.D.C. 2007) rev'd, 573 F.3d

835 (D.C. Cir. 2009). Although this particular case specifically addressed the domicile of the

decedent being in Paris, France, it clearly outlines the process future FSIA claims are now

required to follow.

        The Taylor and Ovessi cases describe guidelines for application of estate-plaintiff

claims under the FSIA and then we must look to the applicable state survival laws in order to

determine whether the decedent’s survivors are allowed to bring a claim under the state

specific statutes. See, Taylor v. Islamic Republic of Iran, 811 F. Supp. 2d 1, 12-13 (D.D.C.

2011); Oveissi v. Islamic Republic of Iran, 498 F. Supp. 2d 268, 279 (D.D.C. 2007) rev'd, 573

F.3d 835 (D.C. Cir. 2009).

        The following table depicts the states and the applicable state law statutes based on the

estate-plaintiffs currently participating in the Worley action. 3


                 North Carolina         N.C. Gen.Stat. § 28A–18–1 (West)
                 Pennsylvania           20 Pa. Cons.Stat. § 3371 (West); 42 Pa.
                                        Cons.Stat. § 8302 (West)
                 Ohio                   Ohio Rev. Code Ann. § 2125.02 (West)
                 Kentucky               Ky. Rev. Stat. Ann. § 411.130 (West)
                 New York               N.Y. Est. Powers & Trusts Law § 4-1.1
                                        (McKinney); N.Y. Est. Powers & Trusts Law
                                        § 5-4.1
                 Florida                Fla. Stat. Ann. § 768.20 (West)

3
 In addition to Westlaw or LexisNexis, a useful damages law survey across all U.S. jurisdictions is freely
available from the Arent Fox at
http://www.arentfox.com/sites/default/files/Downloads/practicesindustries/practices/AF-Survey-of-Damage-
Laws.pdf.

                                                      5


                                                                                                             Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 6 of 10




               Maryland            Md. Code Ann., Cts. & Jud. Proc. § 3-902
                                   (West)
               New Jersey          N.J. Stat. Ann. § 2A:31-1 (West)



       Applicable case law and statute references for North Carolina Estates pursuant to

previous FSIA cases states:


               “North Carolina law provides that ‘[u]pon the death of any
               person, all demands whatsoever, and rights to prosecute or defend
               any action ... existing in favor of or against such person ... shall
               survive to and against the personal representative ... of his estate.’
               N.C. Gen.Stat. § 28A–18–1 (2011). And as the North Carolina
               courts have explained, this provision ensures that ‘a civil action
               based upon personal injury survives the death of the plaintiff.’
               McGowen v. Rental Tool Co., 109 N.C.App. 688, 428 S.E.2d 275,
               276 (N.C.Ct.App.1993); see also Schronce v. Coniglio, 124
               N.C.App. 216, 476 S.E.2d 366, 367 (N.C.Ct.App.1996)
               (reversing dismissal of claim brought by estate's representative in
               lower court in reliance on § 28A–18–1).”

Taylor v. Islamic Republic of Iran, 811 F. Supp. 2d 1, 13 (D.D.C. 2011). As many of the

estates are of deceased servicemen then living or stationed at Camp Lejeune, this state’s

statute is likely to be referenced and applied multiple times in the course of this matter.

Further, the Court has explicitly declared in previous FSIA cases involving terrorism claims

that survival claims under North Carolina law survives death.

       The applicable case law and statute references for Pennsylvania Estates pursuant to

previous FSIA cases states:


               “[t]he provisions of Pennsylvania's code concerning estates
               provides that ‘[a]ll causes of action or proceedings shall survive
               as provided in [§ 8302],’ 20 Pa. Cons.Stat. § 3371, and that
               separate provision specifies that ‘[a]ll causes of action or
               proceedings, real or personal, shall survive the death of the
               plaintiff or of the defendant.’ 42 Pa. Cons.Stat. § 8302. As the
               Supreme Court of Pennsylvania has explained, these statutes ‘do
               not create a new cause of action [but] simply permit a personal
                                                 6


                                                                                              Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 7 of 10




               representative to enforce a cause of action which had already
               accrued to the deceased before his death.’ Anthony v. Koppers
               Co., 496 Pa. 119, 436 A.2d 181, 185 (1981).”

Taylor v. Islamic Republic of Iran, 811 F. Supp. 2d 1, 13 (D.D.C. 2011). Here, the Court

determined survival claims under Pennsylvania law survive death and allows for the personal

representative to “enforce a cause of action.” Id. As such, the requisite pass-through under

state law has been established for claims brought pursuant to 28 U.S.C. § 1605A.


       The applicable statute for Ohio Estates:


               “[e]xcept as provided in this division, a civil action for wrongful
               death shall be brought in the name of the personal representative of
               the decedent for the exclusive benefit of the surviving spouse, the
               children, and the parents of the decedent, all of whom are rebuttably
               presumed to have suffered damages by reason of the wrongful death,
               and for the exclusive benefit of the other next of kin of the decedent.
               A parent who abandoned a minor child who is the decedent shall not
               receive a benefit in a civil action for wrongful death brought under
               this division.”

Ohio Rev. Code Ann. § 2125.02 (A)(1) (West). Here, Ohio law allows a personal

representative to bring a claim on behalf of a person deceased who would have otherwise been

able to bring the claim “for the exclusive benefit of the surviving spouse, the children and the

parents of the decedent.” Id. As such, the requisite pass-through under state law has been

established for claims brought pursuant to 28 U.S.C. § 1605A.

       The applicable statute for Kentucky Estates:

               “(1) Whenever the death of a person results from an injury
               inflicted by the negligence or wrongful act of another, damages
               may be recovered for the death from the person who caused it, or
               whose agent or servant caused it. If the act was willful or the
               negligence gross, punitive damages may be recovered. The action
               shall be prosecuted by the personal representative of the
               deceased.”



                                                7


                                                                                               Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 8 of 10




Ky. Rev. Stat. Ann. § 411.130 (West). In subsequent sections this statute further defines the

nature of distribution and classifications of parties that are able to recover in certain portions,

but this is largely unremarkable for the purposes of this memorandum. However under

Kentucky law a personal representative may bring a claim on behalf of the estate of a

deceased person for any claims the now deceased person would have been able to sue if they

had not died. As such, the requisite pass-through under state law has been established for

claims brought pursuant to 28 U.S.C. § 1605A.

       Pursuant to New York law, Personal representatives are specifically allowed to bring

an action for wrongful acts according to the following.

               “The personal representative, duly appointed in this state or any
               other jurisdiction, of a decedent who is survived by distributees
               may maintain an action to recover damages for a wrongful act,
               neglect or default which caused the decedent's death against a
               person who would have been liable to the decedent by reason of
               such wrongful conduct if death had not ensued….”

       N.Y. Est. Powers & Trusts Law § 5-4.1 (McKinney). Additonally but not germane to

this memorandum property distribution and classification of certain family members is

addressed in N.Y. Est. Powers & Trusts Law § 4-1.1 (McKinney). Aside from addressing

particular claims arising out of the occurrences on September 11, 2001, New York law allows

for a survival action to be brought and FSIA case law allows for claims to be brought pursuant

to 28 U.S.C. § 1605A.

       The applicable statute for Florida Estates allows for an action to be brought by a

personal representative on behalf of the estate of the decedent.

               “The action shall be brought by the decedent's personal
               representative, who shall recover for the benefit of the decedent's
               survivors and estate all damages, as specified in this act, caused
               by the injury resulting in death. When a personal injury to the
               decedent results in death, no action for the personal injury shall
               survive, and any such action pending at the time of death shall
                                                 8


                                                                                                Exhibit B
        Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 9 of 10




               abate. The wrongdoer's personal representative shall be the
               defendant if the wrongdoer dies before or pending the action. A
               defense that would bar or reduce a survivor's recovery if she or he
               were the plaintiff may be asserted against the survivor, but shall
               not affect the recovery of any other survivor.”

Fla. Stat. Ann. § 768.20 (West). Here, a decedent’s personal representative is explicitly

allowed to bring a claim for damages specific in the act caused by the injury resulting in

death. As such, the requisite pass-through under state law has been established for claims

brought pursuant to 28 U.S.C. § 1605A.

       The applicable statute for Maryland Estates allows for “[w]rongful death actions, (a)

An action may be maintained against a person whose wrongful act causes the death of

another.” Md. Code Ann., Cts. & Jud. Proc. § 3-902 (West) (emphasis in original). As this

statute does not explicitly detail the qualities of a personal representative, it does however

allow for the action to be maintained against the person who caused the death of a deceased

plaintiff. Here, the defendants have been found liable by the Court for the bombing and its

outcome; those outcomes being the death and subsequent death of servicemen from the blast.

As such, the requisite FSIA case law pass-through under state law has been established for

claims brought pursuant to 28 U.S.C. § 1605A.

       The applicable statute for New Jersey Estates reads:

               “[w]hen the death of a person is caused by a wrongful act, neglect
               or default, such as would, if death had not ensued, have entitled
               the person injured to maintain an action for damages resulting
               from the injury, the person who would have been liable in
               damages for the injury if death had not ensued shall be liable in
               an action for damages, notwithstanding the death of the person
               injured and although the death was caused under circumstances
               amounting in law to a crime.”

N.J. Stat. Ann. § 2A:31-1 (West). As murky as this statute reads, it is derivable that a personal

representative is allowed to bring the action on behalf of the now deceased plaintiff. As such,
                                                9


                                                                                                 Exhibit B
       Case 1:12-cv-02069-RCL Document 46-2 Filed 09/22/15 Page 10 of 10




the requisite pass-through under state law has been established for claims brought pursuant to

28 U.S.C. § 1605A.

                                          Conclusion

       In the states outlined above Plaintiffs either have or anticipate an estate-plaintiff has

ample support for survival actions based in state law on behalf of the deceased plaintiffs in

this action. Moreover, the survival of causes of action are clearly allowed for under state law

and as such passes through to the federal cause of action described in 28 U.S.C. § 1605A and

as outlined in previous FSIA case law and practice.

       We hope this memorandum assists you in your determinations and drafting of your

reports and recommendations. If there is further questions on this topic or additional

information you require, we are at your disposal.




                                               10


                                                                                                Exhibit B
